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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
EASTERN DIVISION

MARK E. DOTI`ORE, RECEIVER CASE NO. 1119-cV-380

Plaintiff, JUDGE DAN AARON POLSTER

THOMAS M. PARKER
STUDIO ENTERPRISE MANAGER, LLC

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V. ) MAGISTRATE JUDGE

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et al., )
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Defendants.

 

DECLARATION OF DEBBI LANNON-SMI'I`I-I

 

Debbi Lannon-Smith hereby declares under penalty of perjury that the following

is true and correct:

1. I am a resident of the State of Arizona.

2. I make the Within declaration from my own personal knowledge, and I am
competent to So testify

3. I am the Chief Human Resources Officer at Dream Center Education Holdings,
LLC (“DCEH”).

4. I am aware that in early January 2019 the Argosy University System, the Arts
InStitute University Systern, and the South University Systern and Studio
Enterprise Manager, LLC (“Studio”), among others, entered into a Series of

Master Services Agreements (“MSAS”) With one another.

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5. Under the MSAS, Studio agreed to perform certain services for the Argosy
University System, the Art Institute University System, and the South University
System.

6. Studio has not provided these services for the Argosy University System or the
South University System.

7. In addition, I have reviewed Studio’s Meinorandum in Opposition to Receiver’s
Motion for a Temporary Restraining Order and Preliininary Injunction. In
particular, I reviewed page 10, footnote 9 of Studio’s Memorandum in which
Studio lists a number of services that it purportedly has provided.

8. Studio has not performed any of these services for the Argosy University System

or the South University System.

l declare under penalty of perjury that the foregoing is true and correct to the
best of my information, knowledge, and belief. Executed the 26th day of February, 2019

in Phoenix, Arizona.

Debbi Lannon-Smith 0

 

